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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      CR. NO. 2:93cr310
                                              )             WO
FRANCIS WILLIAMS                              )

                                        ORDER

       Defendant Francis Williams has filed a pleading styled as “Objections to the Pre-

Sentence Report” (Doc. 1577), wherein she challenges the sentence imposed upon her by this

court in 1994 for a controlled substance offense. A review of the claims presented by

Williams in this pleading indicates that she seeks relief from this court that is appropriate

only under the remedy provided by 28 U.S.C. § 2255. Accordingly, the Clerk of this court

is hereby DIRECTED to:

       1. Open a civil action under 28 U.S.C. § 2255.

       2. Docket Williams’s “Objections to the Pre-Sentence Report” (currently
       docketed as Doc. 1577 under 2:93cr310) in the newly opened civil action.

       3. Assign the newly opened case to the Magistrate Judge and District Judge
       to whom the instant case is assigned; and

       4. Refer the case file to the appropriate Magistrate Judge for further
       proceedings upon completion of the foregoing directives.

       Done this 3rd day of August, 2005.



                                   /s/ Delores R. Boyd
                                   DELORES R. BOYD
                                   UNITED STATES MAGISTRATE JUDGE
